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                   UNITED STATES DISTRICT COURT
               FOR UNITED
                    THE NORTHERN       DISTRICT COURT
                             STATES DISTRICT       OF TEXAS
                FOR THEFORT    WORTHDISTRICT
                          NORTHERN       DIVISIONOF TEXAS
                          FORT WORTH DIVISION
    AMERICAN AIRLINES INC,
     REGINALEA KEMP,
        Plaintiff,
        Plaintiff,
    v.                                            No. 4:23-CV-00860-P
     v.                                            No. 4:23-cv-00841-P
    SKIPLAGGED, INC.,
     REGIONS BANK ET AL.,
        Defendant.
        Defendants.               ORDER
                                  ORDER
        Before the Court is American Airlines’ Motion for Leave to File a
        Before the Expert
    Supplemental    Court isReport
                             Plaintiff’s UnopposedECF
                                    on Damages,      Motion
                                                          No.for Leave
                                                               198,     to File
                                                                    based   on
     Seconddiscovery
    recent  Amendedproduced
                      Complaint.
                               as ECF    No. 18.
                                   required   by Having considered
                                                 a previous  Order the Motion
                                                                    of United
     and applicable
    States          docket
           Magistrate      entries,
                       Judge  Hal R.the
                                     Ray.Court
                                           See GRANTS     the Motion.
                                               ECF No. 118.
       SO ORDERED
       Having         on this
              considered  the 18th day and
                               Motion  of September
                                            applicable 2023.
                                                        law, the Court
    GRANTS the Motion.
       SO ORDERED on this 31st day of July 2024.




                          ______________________________________________
                          Mark T. Pittman
                          UNITED STATES DISTRICT JUDGE
